Case 1:08-cv-01214-WHP Document 9 Filed 07/22/2008 Page1 of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________ X

NOHA ELMOHANDES,
Plaintiff,
-against-
MICHAEL MUKASEY ET AL.,
Defendants.

 

 

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DATE FH.JED: "? 2`2 cf
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WILLIAM H. PAULEY III, District Judge:

A status conference shall take place September 19, 2008 at 10:00 a.rn.

Dated: July 21, 2008
NeW York, New York

Counsel Ofrecord.'

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Counselfor Plaintijf

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Offlce 0f the United States Attorney
86 Chambers Street

New York, NY 10004

Counsel for Defendcmts

SO ORDERED:

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WILLIAM H. PAULEY 111 `

U.S.D.J.

